






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,386




EX PARTE DAVID SOLIS, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 2007-417,788 IN THE 137TH DISTRICT COURT
FROM LUBBOCK COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of two counts of
aggravated assault and one count of assault and sentenced to imprisonment for fifteen years on each
aggravated assault count and ten years on the assault count. The Seventh Court of Appeals affirmed
his convictions. Solis v. State, No. 07-08-00033-CR (Tex. App.–Amarillo 2008, no pet.). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel rendered ineffective assistance because she
failed to timely notify him that his conviction had been affirmed and failed to advise him of his right
to petition for discretionary review pro se. Appellate counsel filed an affidavit with the trial court.
Based on her affidavit, the trial court found that Applicant did not receive a letter appellate counsel
wrote and therefore did not know that his conviction had been affirmed on December 18, 2008. The
trial court recommends that relief be granted. Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App.
1997). We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition
for discretionary review of the judgment of the Seventh Court of Appeals in Cause No. 07-08-00033-CR that affirmed his conviction in Case No. 2007-417,788 from the 137th Judicial District Court
of Lubbock County. Applicant shall file his petition for discretionary review with the Seventh Court
of Appeals within 30 days of the date on which this Court’s mandate issues.
&nbsp;
Delivered: August 25, 2010
Do not publish


